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 1   ALEXANDER G. CALFO, SBN 152891
     acalfo@kslaw.com
 2   JULIA E. ROMANO, SBN 260857
     jromano@kslaw.com
 3   AMY P. ZUMSTEG, SBN 260242
     azumsteg@kslaw.com
 4   KING & SPALDING LLP
     633 West Fifth Street,
 5   Suite 1600
     Los Angeles, CA 90071
 6   Telephone: +1 213 443 4355
     Facsimile: +1 213 443 4355
 7
     SHANNON E. BEAMER, SBN 331289
 8   sebeamer@venable.com
     VENABLE LLP
 9   2049 Century Park East, Suite 2300
     Los Angeles, CA 90067
10   Telephone: +1 310 229 9682
     Facsimile: +1 310 229 9901
11
     Attorneys for Defendants
12   MERCK & CO. INC.; MERCK SHARP &
     DOHME CORP.1; ORGANON & CO.;
13   and ORGANON LLP
14
                           UNITED STATES DISTRICT COURT
15

16                       CENTRAL DISTRICT OF CALIFORNIA

17     SHARON BLUNT, an individual           Case No.
18                Plaintiff,                 NOTICE OF REMOVAL AND
                                             REMOVAL OF ACTION
19          vs.                              PURSUANT TO 28 U.S.C. §§ 1332,
                                             1441, and 1446
20     MERCK & CO., INC., a New Jersey
       Corporation; MERCK SHARP &            [San Bernardino County Superior
21     DOHME CORP., a New Jersey             Court Case No. CIV SB 2204634]
       Corporation; ORGANON & CO., a
22     Delaware Corporation; ORGANON         Action Filed:   March 4, 2022
       LLC, a Delaware Limited Liability     Action Removed: May 20, 2022
23     Company; and DOES 1-10, Inclusive,    Trial Date:     None Set
24                Defendants.
25

26

27

28 1   Merck Sharp & Dohme Corp. is now known as Merck Sharp & Dohme LLC.

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 1           TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and
 3   1446, Defendants Merck & Co., Inc., Merck Sharp & Dohme Corp., Organon & Co.
 4   and Organon LLC (collectively, “Defendants”) hereby give notice that the above-
 5   captioned action, pending in the Superior Court of California for the County of San
 6   Bernardino, is removed to the United States District Court for the Central District of
 7   California. In support of the removal, Defendants respectfully state as follows:
 8           1.    On March 4, 2022, Plaintiff Sharon Blunt filed a Complaint in the Superior
 9   Court of California for County of San Bernardino. The case is captioned Sharon Blunt
10   v. Merck & Co., Inc., et al., San Bernardino County Case No. CIV SB 2204634.
11   Attached to the Declaration of Julia Romano as Exhibit 1 is a true and correct copy of
12   the state court filings Defendants obtained, including the Complaint, Summons, Civil
13   Case Cover Sheet, and Certificate of Assignment.
14           2.    This case is properly removed to this Court under 28 U.S.C. § 1441
15   because Defendants have satisfied the procedural requirements for removal and this
16   Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.2
17           3.    This action is among citizens of different states: (1) Plaintiff is and was at
18   the time the Complaint was filed a citizen of California; (2) Merck & Co., Inc. is now,
19   and was at the time this action commenced, a citizen of New Jersey; (3) Merck Sharp
20   & Dohme Corp. is now, and was at the time this action commenced, a citizen of New
21   Jersey; (4) Organon & Co. is now, and was at the time this action commenced, a citizen
22   of Delaware and New Jersey; and (5) Organon LLC is now, and was at the time this
23   action commenced, a citizen of Delaware and New Jersey.
24

25
     2
       Defendants file this Notice of Removal and Removal of Action without submitting
26   or consenting to the personal jurisdiction of this Court and expressly reserve the right
27   to challenge this Court’s ability to exercise personal jurisdiction over Defendants in
     this case, including through a motion to dismiss for lack of personal jurisdiction under
28   Federal Rule of Civil Procedure 12(b)(2).
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 1         4.     Furthermore, the alleged amount in controversy exceeds $75,000,
 2   exclusive of interest and costs, for the reasons more fully briefed below.
 3         I.   PROCEDURAL REQUIREMENTS FOR REMOVAL ARE MET
 4         5.     This Notice of Removal and Removal of Action is timely filed under 28
 5   U.S.C. § 1446, as it is filed within 30 days of Defendants’ receipt of the initial pleading
 6   purporting to set forth the claims for relief on which this action is based.
 7         6.     Defendants were served with a copy of the Complaint on April 20, 2022.
 8   The filing of this Notice of Removal, therefore, is timely because Defendants are filing
 9   it “within 30 days after receipt by the defendant, through service or otherwise, of a copy
10   of the initial pleading setting forth the claim for relief upon which such action or
11   proceeding is based.” 28 U.S.C. § 1446(b)(1).
12         7.     Pursuant to 28 U.S.C. § 1446(a), Defendants attach to this Notice of
13   Removal a copy of the Complaint, Summons, Civil Case Cover Sheet and Certificate
14   of Assignment. See Romano Decl. ¶ 3, Ex. 1; see also Request for Judicial Notice
15   (“RJN”), Ex. 1.
16         8.     Pursuant to 28 U.S.C. §§ 84(c), 1441(a), and 1446(a), this Notice of
17   Removal is being filed in the United States District Court for the Central District of
18   California. Venue for this action is proper in this Court under 28 U.S.C. § 1441(a)
19   because San Bernardino County is located within the United States District Court for
20   the Central District of California. See 28 U.S.C. § 84(c). Accordingly, the Central
21   District of California is the federal “district and division embracing the place where
22   such action is pending.” 28 U.S.C. § 1441(a).
23         9.     Pursuant to 28 U.S.C. § 1446(d), Defendants are filing with the clerk of
24   the Superior Court of the State of California for the County of San Bernardino, and
25   serving upon Plaintiff’s counsel, a Notice to Adverse Party and State Court of Removal
26   of Action to Federal Court, including a true and correct copy of this Notice of Removal.
27   Proof of the same will be filed with this Court.
28

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        NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, and 1446
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 1           10.   Defendants have complied with 28 U.S.C. § 1446(b)(2)(A) insofar as there
 2   are no other defendants that must join in or consent to removal. See, e.g., 28 U.S.C. §
 3   1446 (b)(2)(A) (“When a civil action is removed solely under section 1441(a), all
 4   defendants who have been properly joined and served must join in or consent to the
 5   removal of the action.”). The other defendants, the unknown “DOES 1-10,” are not
 6   required to join in or consent to removal. See United Computer Sys., Inc. v. AT&T Corp.,
 7   298 F.3d 756, 762 (9th Cir. 2002) (noting that the “rule of unanimity” for removal does
 8   not apply to “nominal, unknown or fraudulently joined parties”); Fristoe v. Reynolds
 9   Metals Co., 615 F. 2d 1209, 1213 (9th Cir. 1980) (holding that removal to federal court
10   was proper as “the unknown defendants sued as ‘Does’ need[ed] not be joined in a
11   removal petition”); Cont’l Ins. Co. v. Foss Mar. Co., 2002 WL 31414315, at *4 (N.D.
12   Cal. Oct. 23, 2002) (noting that “all defendants in a state action must join in the petition
13   for removal, except for nominal, unknown, or fraudulently joined parties.”) Thus,
14   Defendants may remove without any other parties’ concurrence.
15           11.   No previous application has been made for the relief requested herein.
16   II.     REMOVAL IS PROPER BECAUSE THIS COURT HAS ORIGINAL
17           JURISDICTION PURSUANT TO 28 U.S.C. §§ 1332 AND 1441.
18           12.   This Court has diversity jurisdiction pursuant to 28 U.S.C. § §1332, 1441
19   because this is a civil action among citizens of different states in which the amount in
20   controversy exceeds the sum of $75,000, exclusive of costs and interest.
21           A.    There Is Complete Diversity Among the Parties
22           13.   This case is between “citizens of different States and in which citizens or
23   subjects of a foreign state are additional parties.” 28 U.S.C. § 1332(a)(1). As
24   explained below, all defendants are diverse from Plaintiff.
25                 a. Plaintiff Is A Citizen Of California
26           14.   Plaintiff is and was at the time of filing of the Complaint, a citizen of San
27   Bernardino County, California. Compl. ¶ 24.
28

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 1                b. Merck & Co., Inc. Is A Citizen of New Jersey
 2         15.    Plaintiff concedes that Merck & Co., Inc., is now, and was at the time that
 3   Plaintiff filed this action, a foreign corporation organized under the laws of the State of
 4   New Jersey with its principal place of business in New Jersey. See Compl. ¶ 11; Romano
 5   Decl. ¶¶ 4-5, Ex. 2, New Jersey Secretary of State Short Form Standing Certificate for
 6   Merck & Co., Inc., (stating that Merck & Co., Inc., is a domestic for-profit corporation
 7   registered within the jurisdiction of New Jersey); RJN, Ex. 2; see also Romano Decl.
 8   ¶¶ 6-7, Ex. 3, New Jersey Secretary of State Business Entity Status Report for Merck &
 9   Co., Inc., (stating that Merck & Co., Inc., is registered within the jurisdiction of New
10   Jersey); RJN, Ex. 3. Thus, Merck & Co., Inc., is a citizen of New Jersey for purposes
11   of determining diversity. 28 U.S.C. § 1332(c)(1).
12                c. Merck Sharp & Dohme Corp. Is A Citizen of New Jersey
13         16.    Plaintiff concedes that Merck Sharp & Dohme Corp. is now and was at the
14   time that Plaintiff filed this action, a foreign corporation organized under the laws of
15   the State of New Jersey with its principal place of business in New Jersey. See Compl.
16   ¶ 11; Romano Decl. ¶¶ 8-9, Ex. 4, California Secretary of State Statement of
17   Information for Merck Sharp & Dohme Corp. (stating that Merck Sharp & Dohme Corp.
18   is registered within the jurisdiction of New Jersey); RJN, Ex. 4. Effective May 1, 2022,
19   Merck Sharp & Dohme Corp. merged into Merck Sharp & Dohme LLC. Romano Decl.
20   ¶ 10. Merck Sharp & Dohme LLC is registered within the jurisdiction of New Jersey.
21   Romano Decl. ¶¶ 11-12, Ex. 5, New Jersey Secretary of State Short Form Standing
22   Certificate for Merck Sharp & Dohme LLC (stating that Merck Sharp & Dohme LLC
23   is a domestic limited liability company registered within the jurisdiction of New Jersey);
24   RJN, Ex. 5; see also Romano Decl. ¶¶ 13-14, Ex. 6, New Jersey Secretary of State
25   Business Entity Status Report for Merck Sharp & Dohme LLC (stating that Merck
26   Sharp & Dohme LLC is registered within the jurisdiction of New Jersey); RJN, Ex. 6.
27   Thus, Merck Sharp & Dohme Corp. (now known as Merck Sharp & Dohme LLC) is a
28   citizen of New Jersey for purposes of determining diversity. 28 U.S.C. § 1332(c)(1).
                                        4
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 1                  d. Organon & Co., Inc. Is A Citizen of Delaware And New Jersey
 2           17.    Plaintiff concedes that Organon & Co. is now and was at the time that
 3   Plaintiff filed this action, a foreign corporation organized under the laws of the State of
 4   Delaware with its principal place of business in New Jersey. See Compl. ¶ 13; Romano
 5   Decl. ¶¶ 15-16, Ex. 7, Delaware Division of Corporations Short Form Standing
 6   Certificate for Organon & Co., (stating that Organon & Co. is a domestic for-profit
 7   corporation registered within the jurisdiction of Delaware); RJN, Ex. 7; see also
 8   Romano Decl. ¶¶ 17-18, Ex. 8, New Jersey Secretary of State Short Form Standing
 9   Certificate for Organon & Co., (stating that Organon & Co. is a foreign for-profit
10   corporation with its principal place of business within the jurisdiction of New Jersey);
11   RJN, Ex. 8. Thus, Organon & Co. is a citizen of both Delaware and New Jersey for
12   purposes of determining diversity. 28 U.S.C. § 1332(c)(1).
13                  e. Organon LLC Is A Citizen of Delaware and New Jersey
14           18.    Plaintiff concedes that Organon LLC is now and was at the time that
15   Plaintiff filed this action, a foreign limited liability company organized under the laws
16   of the State of Delaware with its principal place of business in New Jersey. See Compl.
17   ¶ 13; Romano Decl. ¶¶ 19-20, Ex. 9, Delaware Division of Corporations Short Form
18   Certificate Standing Certificate for Organon LLC (stating that Organon LLC is a
19   domestic limited liability company registered within the jurisdiction of Delaware); RJN,
20   Ex. 9; see also Romano Decl. ¶¶ 21-22, Ex. 10, New Jersey Secretary of State Short
21   Form Standing Certificate for Organon LLC (stating that Organon LLC is a foreign for-
22   profit limited liability company with its principal place of business within the
23   jurisdiction of New Jersey); RJN, Ex. 10. Thus, Organon LLC is a citizen of both
24   Delaware and New Jersey for purposes of determining diversity. 28 U.S.C. §
25   1332(c)(1).3
26
     3
27    Organon & Co. is the member of Organon LLC. See Romano Decl., ¶¶ 23-24, Ex.
     11, California Secretary of State Statement of Information for Organon LLC (listing
28   Organon & Co. as membership for Organon LLC); RJN, Ex. 11. The citizenship of
                                           5
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 1                f. Citizenship Of The DOE Defendants Shall Not Be Considered
 2         19.    The citizenship of the DOE defendants shall not be considered for purposes
 3   of determining diversity jurisdiction, as these are fictitious defendants. See 28 U.S.C. §
 4   1441(b) (“In determining whether a civil action is removable on the basis of the
 5   jurisdiction under section 1332(a) of this title, the citizenship of defendants sued under
 6   fictitious names shall be disregarded.”).4
 7
     entities other than corporations is determined by the citizenship of their members. See
 8   Carden v. Arkoma Assocs., 494 U.S. 185 (1990); Johnson v. Columbia Props.
 9
     Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Because Organon & Co. is a
     citizen of New Jersey and Delaware, Organon LLC is therefore deemed a citizen of
10   those two states, as well.
     4
11
       In the event that any DOE defendants are forum defendants, i.e., citizens of
     California for diversity purposes, it is not a bar to removal under 28 U.S.C. section
12   1441(b), which provides that removal is allowed only if “none of the parties in interest
13
     properly joined and served as defendants is a citizen of the State in which such action
     is brought.” 28 U.S.C. § 1441(b). Under the plain language of Section 1441(b), the no
14   forum defendant rule applies only once such defendant has been properly joined and
15
     served. Id.; see also Allen v. Eli Lilly & Co., 2010 WL 3489366, at *2 (S.D. Cal.
     Sept. 2, 2010) (denying motion to remand and upholding the removal of the action,
16   finding the presence of local defendants did not preclude removal jurisdiction because
17   no local defendant was a party to the action at the time of removal and complete
     diversity of the parties continues to exist after the local defendants were or are served
18   and made parties); Zirkin v. Shandy Media, Inc., 2019 WL 626138, at *2 (C.D. Cal.
19   Feb. 14, 2019) (denying motion to remand and upholding the forum defendants’
     removal before service, finding “the Forum Defendant Rule did not bar an in-state
20   defendant from removing an action before the defendant is served”); May v. Haas,
21   2012 WL 4961235, at *3 (E.D. Cal. Oct. 16, 2012) (denying motion to remand and
     upholding the removal of the action, finding that the forum defendant had not been
22   served at the time the non-forum defendant removed the case and complete diversity
23   continues to exist between the parties after the forum defendant has been served);
     Loewen v. McDonnell, 2019 WL 2364413, at *9 (N.D. Cal. June 5, 2019) (denying
24   motion to remand, finding the removal was effective before any forum defendant was
25   served and complete diversity continues to exist between the parties); id. at *7
     (holding “the Northern District of California has consistently held a defendant may
26   remove an action prior to receiving proper service, even when the defendant resides in
27   the state in which the plaintiff filed the state claim”); Cucci v. Edwards, 510 F. Supp.
     2d 479, 482 (C.D. Cal. 2007) (holding that “a resident defendant who has not been
28   served may be ignored in determining removability”); City of Ann Arbor Employees’
                                        6
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 1         20.        Based on the above, there is complete diversity among Plaintiff and
 2   Defendants, and this Court has diversity jurisdiction under 28 U.S.C. § 1332. See Owen
 3   Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373 (1978) (“diversity jurisdiction does
 4   not exist unless each defendant is a citizen of a different State from each plaintiff”).
 5         B.         The Amount in Controversy Exceeds $75,000.
 6         21.        The amount in controversy exceeds $75,000 notwithstanding that Plaintiff
 7   does not allege a specific amount in controversy in the Complaint.5
 8         22.        Under 28 U.S.C. § 1446(c)(2):
 9         If removal of a civil action is sought on the basis of the jurisdiction
           conferred by section 1332(a), the sum demanded in good faith in the initial
10         pleading shall be deemed to be the amount in controversy, except that:
11              (A)     the notice of removal may assert the amount in controversy in the
                        initial pleading seeks . . . (ii) a money judgment, but the State
12                      practice either does not permit demand for a specific sum or
                        permits recovery of damages in excess of the amount demanded,
13                      and
14              (B)     removal of the action is proper on the basis of an amount in
                        controversy asserted under subparagraph (A) if the district court
15                      finds, by the preponderance of the evidence, that the amount in
                        controversy exceeds the amount specific in section 1332(a).
16

17   28 U.S.C. § 1446(c)(2)(A)-(B); Federal Courts Jurisdiction and Venue Clarification Act
18   of 2011, Pub. L. 112-63, Dec. 7, 2011.
19         23.        When a plaintiff does not allege a specific amount for damages, the
20   removing defendant need only show that the amount in controversy is “more likely than
21   not” to exceed the jurisdictional amount of $75,000, exclusive of interest and costs.
22   Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). Where the
23

24   Retirement Sys. v. Gecht, 2007 WL 760568, at *8 (N.D. Cal. Mar. 9, 2007) (holding
25   that “[p]laintiff should have been cognizant of the fact that a nonresident defendant
     could remove a case without having been served”); Republic W. Ins. Co. v. Int’l Ins.
26   Co., 765 F. Supp. 628, 629 (N.D. Cal. 1991) (denying motion for remand where local
27   defendant had not been served at time of removal).
     5
       Defendants deny all allegations contained in Plaintiff’s Complaint and deny that
28   Plaintiff is entitled to any relief sought.
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 1   amount in controversy is not specified, courts look to the facts alleged in the complaint
 2   as well as in the notice of removal. See Simmons v. PCR Tech., 209 F. Supp. 2d 1029,
 3   1031 (N.D. Cal. 2002) (“Where the amount of damages sought by a plaintiff is unclear,
 4   defendant must prove facts supporting the jurisdictional amount by a preponderance of
 5   the evidence”); 28 U.S.C. § 1446(c)(2). Courts may receive extrinsic evidence to
 6   determine whether the amount in controversy is more likely than not to exceed $75,000.
 7   See Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (“[T]he amount-in
 8   controversy inquiry in the removal context is not confined to the face of the
 9   complaint.”). Indeed, courts may find an estimate of damages based upon damage
10   awards in similar cases as sufficient evidence to prove by a preponderance of the
11   evidence that a plaintiff’s claims exceed the jurisdictional limit. See Karlsson v. Ford
12   Motor Co., 140 Cal. App. 4th 1202, 1207 (2006) (awarding damages in excess of the
13   jurisdictional amount of $75,000 in product liability case); Jones v. John Crane, Inc.,
14   132 Cal. App. 4th 990, 997 (2005) (same).
15         24.    While Plaintiff’s Complaint does not allege a specific amount in
16   controversy, Plaintiff alleged that she “has sustained pecuniary loss and general
17   damages in a sum exceeding the jurisdictional minimum of this Court.” Compl. ¶¶ 213,
18   230; Romano Decl. ¶ 3, Ex. 1. Further, it is facially evident that the amount in
19   controversy is satisfied. Plaintiff alleges that she took branded and/or generic Singulair
20   (also known as Montelukast) for allergy treatment during the years 2008 through 2019
21   pursuant to a prescription by her healthcare provider. Plaintiff alleged that, after she
22   began taking Singulair, she “suffered neuropsychiatric injury including general anxiety
23   and depression.” Compl. ¶ 8.
24         25.    Plaintiff alleges she became symptomatic while using Singulair®. Compl.
25   ¶ 9. Plaintiff further alleges that she “has incurred medical expenses and will continue
26   to incur expenses in connection with medical treatment as a result of [her alleged]
27   injuries.” Compl. ¶ 10. Plaintiff also alleges she “has endured and will continue to
28   endure pain, suffering, mental anguish, trauma, and loss of enjoyment of life as a result
                                        8
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 1   of these injuries, ha[s] suffered lost earnings and/or a loss of earning capacity, and other
 2   injuries and damages to be proven at trial.” Compl. ¶ 10.
 3           26.   Accordingly, Plaintiff asserts causes of action for: (1) Strict Liability –
 4   Design Defect; (2) Strict Liability – Failure to Warn; (3) Negligence; (4); Negligent
 5   Misrepresentation; (5) Breach of Express Warranty; and (6) Breach of Implied
 6   Warranty. Compl. ¶¶ 103-233. Plaintiff seeks to recover past and future general
 7   damages, past and future economic and special damages, loss of earnings and impaired
 8   earning capacity, medical expenses, past and future, punitive or exemplary damages,
 9   attorney’s fees, costs of suit incurred, for pre-judgment interest as provided by law, and
10   for such other and further relief as the Court may deem just and proper. Compl. at 41:1-
11   10.
12           27.   Where, as here, a plaintiff alleges a serious psychological injury, California
13   federal courts have found that the amount-in-controversy requirement is satisfied. See,
14   e.g., Bryant v. Apotex, Inc., 2012 WL 5933042, at *4 (E.D. Cal. Nov. 27, 2012) (holding
15   the amount-in-controversy requirement was met, although “complaint [did] not set forth
16   a specific amount of damages,” because plaintiff sought “compensatory damages for
17   injuries and severe pain lasting six months, severe emotional distress, and punitive
18   damages”); Campbell v. Bridgestone/Firestone, Inc., 2006 WL 707291, at *2-3 (E.D.
19   Cal. Mar. 17, 2006) (holding the amount in controversy exceeded $75,000 where
20   plaintiffs asserted strict product liability, negligence, and breach of warranty claims and
21   sought compensatory damages, including lost wages and loss of earning capacity,
22   medical expenses, and general damages).
23           28.   California cases also reveal that jury awards and settlements based on
24   conditions similar to those alleged by Plaintiff may exceed the $75,000 jurisdictional
25   amount. See, e.g., Howard v. Doe Companies, 2000 Jury Verdicts LEXIS 64660 (May
26   25, 2000) (settlement for $150,000 for ephedrine-induced psychosis, including
27   insomnia and racing thoughts, and ultimately depression); Snyder v. Kaiser Found.
28   Hosp., 1997 Jury Verdicts LEXIS 91524 (Sup. Ct. San Diego Cty. June 1997) (arbitrator
                                           9
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 1   awarded $360,000 where plaintiff experienced hallucinations after taking prescribed
 2   medication and incurred additional physical injuries as a result); Confidential v.
 3   Confidential, 2009 Jury Verdicts LEXIS 12779 (Sup. Ct. L.A. Cty. Oct. 1994) (settled
 4   for $150,000 for psychological problems and hallucinations resulting from Prozac
 5   prescription); Boller v. Placer Union High Sch. Dist., Case No. SCV 7478, 2000 Jury
 6   Verdicts LEXIS 65056 (Sup. Ct. Auburn Cty. Apr. 14, 2001) (jury awarded $158,750
 7   for depression, insomnia, and anxiety); Maher v. Ideal Computer Servs., Inc., Case No.
 8   RG07348498, 2009 Jury Verdicts LEXIS 410244 (Sup. Ct. Alameda Cty Sept. 2009)
 9   (awarding $86,000 for depression, anxiety and emotional distress); Lantz Greene v.
10   Yucaipa Towing Inc., Case No. RIC10022388, 2013 Jury Verdicts LEXIS 7608 (Sup.
11   Ct. Riv. Cty. June 11, 2013) (awarding $540,000 in emotional distress, lost wages, and
12   punitive damages).
13         29.    Likewise, California federal courts recognize that the amount-in-
14   controversy requirement is satisfied in analogous product liability cases alleging
15   continuing medical care. See, e.g., Hammarlund v. C.R. Bard, Inc., 2015 WL 5826780,
16   at *2 (C.D. Cal. Oct. 2, 2015) (holding it was “more likely than not” that the amount in
17   controversy exceeds $75,000, given the plaintiffs allege “severe” bodily injuries and
18   “mental and physical pain and suffering” following the failure of defendant’s mesh
19   implant product); Zalta v. K2M, Inc., 2013 WL 12140470, at *2 (C.D. Cal. Nov. 13,
20   2013) (finding that the defendant demonstrated, by a preponderance of the evidence,
21   that the amount-in-controversy requirement was satisfied, given that the plaintiff sought
22   “lost wages, hospital and medical expenses, general damages, and lost earning capacity”
23   following the installment of a defective cervical plate); Zachman v. Johnson & Johnson,
24   2015 WL 7717190 (N.D. Cal. Nov. 30, 2015) (amount-in-controversy requirement
25   satisfied where prescription medication Levaquin allegedly caused the plaintiff’s
26   peripheral neuropathy).
27         30.    Considering the nature and extent of Plaintiff’s alleged injuries and
28   damages, Plaintiff’s claims exceed this Court’s minimum $75,000 jurisdictional limit.
                                       10
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 1         31.    Based on the foregoing, Plaintiff’s state court action may be removed to
 2   this Court in accordance with the provisions of 28 U.S.C. §§ 1332 and 1441 because:
 3   (1) this is a civil action pending within the jurisdiction of this Court; (2) this action is
 4   among citizens of different states; and (3) the amount in controversy exceeds $75,000,
 5   exclusive of interest and costs.
 6         32.    This Notice of Removal has been signed pursuant to Fed. R. Civ. P. 11.
 7         33.    By filing the Notice of Removal, Defendants do not waive any objections
 8   as to service, jurisdiction, venue, or any other defenses available at law, in equity or
 9   otherwise. Defendants intend no admission of fact or law by this Notice of Removal
10   and expressly reserve all defenses and motions. Defendants also reserve the right to
11   amend or supplement this Notice of Removal.
12         34.    If Plaintiff seeks to remand this case to state court, Defendants respectfully
13   ask that they be permitted to brief and argue the issue of this removal prior to any order
14   remanding this case. In the event that the Court decides that remand is proper,
15   Defendants ask that the Court retain jurisdiction and allow them to file a motion asking
16   this Court to certify any remand order for interlocutory review by the Ninth Circuit,
17   pursuant to 28 U.S.C. § 1292(b).
18                                        CONCLUSION
19         In sum, Defendants hereby remove the above-captioned action from the
20   Superior Court of the State of California, County of San Bernardino, to the United
21   States District Court for the Central District of California.
22
     DATED: May 20, 2022                            KING & SPALDING LLP
23

24                                                  /s/Julia E. Romano
25
                                                    Attorneys for Defendants
                                                    MERCK & CO., INC.; MERCK SHARP
26                                                  & DOHME CORP.; ORGANON & CO.;
27
                                                    and ORGANON LLC

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                                       11
        NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, and 1446
